                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                           SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )
vs.                                       )         Case No. 07-5060-09-CR-SW-ODS
                                          )
JOSHUA A. McGINNIS,                       )
                                          )
                     Defendant.           )

  ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
  AND DENYING DEFENDANT’S MOTION TO SEVER OR, IN THE ALTERNATIVE,
                        MOTION TO DISMISS

       On June 3, 2008, the Honorable James C. England, United States Magistrate
Judge for the Western District of Missouri, issued his Report and Recommendation
recommending that Defendant’s Motion to Sever or, in the Alternative, Motion to
Dismiss, (Doc. # 201) be denied. Neither party filed objections to the Report and
Recommendation, and the time for doing so has passed. 28 U.S.C. § 636(b)(1)(C);
Local Rule 74.1(a)(2). Accordingly, Judge England’s Report and Recommendation
(Doc. # 215) is adopted as the Order of the Court, and Defendant’s Motion to Sever or,
in the Alternative, Motion to Dismiss, is denied.

IT IS SO ORDERED.



                                                    /s/ Ortrie D. Smith
                                                    ORTRIE D. SMITH, JUDGE
DATE: June 26, 2008                                 UNITED STATES DISTRICT COURT




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